                                                                                  027,21*5$17('
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                      IN THE UNITED STATES DISTRICT COURT                         DWDP
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )        Case No.      3:12-00137
                                             )                      Judge Sharp
MELISSA DEMPSEY                              )

  MOTION TO CONTINUE HEARING ON SUPERVISED RELEASE REVOCATION

       Comes now, G. Kerry Haymaker, counsel for Defendant, Melissa Dempsey, and hereby

moves this Honorable Court to continue the above referenced hearing currently set for Monday,

June 15, 2015 at 10:30 a.m. Counsel has attached an affidavit under seal in support of this

Motion.


                                                             Respectfully submitted,

                                                             HAYMAKER & HEROUX, PC


                                                             ___/s G. Kerry Haymaker_____
                                                             G. Kerry Haymaker, B.P.R. #018695
                                                             943 Main Street
                                                             Nashville, Tennessee 37206
                                                             (615) 250-0050


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Motion has been delivered by
the Electronic Filing System to Brent Hannafan, Assistant United States Attorney, 110 Ninth
Avenue, South, Suite A961, Nashville, TN 37203-3870 on this the 14th day of June, 2015.

                                                      ____/s G. Kerry Haymaker_______
                                                      G. Kerry Haymaker




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